Case 2:19-cv-00238-JES-UAM Document 1 Filed 04/15/19 Page 1 of 13 PageID 1




                             UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF FLORIDA
                                 FORT MYERS DIVISION

 RYAN REESE,

     Plaintiff,

 -VS-                                             CASE NO.:

 DYNAMIC RECOVERY SOLUTIONS, LLC,

     Defendant.
                                      /

                                     COMPLAINT

        COMES NOW Plaintiff, Ryan Reese, by and through the undersigned counsel,

 and sues Defendant, DYNAMIC RECOVERY SOLUTIONS, LLC, and in support

 thereof respectfully alleges violations of the Telephone Consumer Protection Act, 47

 U.S.C. §227 et seq. (“TCPA”), the Florida Consumer Collection Practices Act, Fla. Stat.

 §559.55 et seq. (“FCCPA”) and the Fair Debt Collection Practices Act, 15 U.S.C. § 1692

 et. seq. (“FDCPA”).

                                    INTRODUCTION

        1.        The TCPA was enacted to prevent companies like Defendant from

 invading American citizen’s privacy and prevent abusive “robo-calls.”

        2.        “The TCPA is designed to protect individual consumers from receiving

 intrusive and unwanted telephone calls.” Mims v. Arrow Fin. Servs., LLC, -US--, 132

 S.Ct. 740, 745, 181 L.Ed. 2d 881 (2012).

        3.        “Senator Hollings, the TCPA’s sponsor, described these calls as ‘the

 scourge of modern civilization, they wake us up in the morning; they interrupt our dinner


                                             1
Case 2:19-cv-00238-JES-UAM Document 1 Filed 04/15/19 Page 2 of 13 PageID 2




 at night; they force the sick and elderly out of bed; they hound us until we want to rip the

 telephone out of the wall.’ 137 Cong. Rec. 30, 821 (1991). Senator Hollings presumably

 intended to give telephone subscribers another option: telling the autodialers to simply

 stop calling.” Osorio v. State Farm Bank, F.S.B., 746 F. 3d 1242, 1256 (11th Cir. 2014).

         4.        According     to   the   Federal   Communications    Commission     (FCC),

 “Unwanted calls are far and away the biggest consumer complaint to the FCC with over

 200,000 complaints each year – around 60 percent of all the complaints…Some private

 analyses estimate that U.S. consumers received approximately 2.4 billion robocalls per

 month        in   2016.”      https://www.fcc.gov/about-fcc/fcc-initiatives/fccs-push-combat-

 robocalls-spoofing.

                                 JURISDICTION AND VENUE


         5.        This is an action for damages exceeding Seventy-Five Thousand Dollars

 ($75,000.00) exclusive of attorney fees and costs.

         6.        Jurisdiction and venue for purposes of this action are appropriate and

 conferred by 28 U.S.C. § 1331, Federal Question Jurisdiction, as this action involves

 violations of the TCPA.

         7.        Subject matter jurisdiction, federal question jurisdiction, for purposes of

 this action is appropriate and conferred by 28 U.S.C. § 1331, which provides that the

 district courts shall have original jurisdiction of all civil actions arising under the

 Constitution, laws, or treaties of the United States; and this action involves violations of

 47 U.S.C. § 227(b)(1)(A)(iii). See Mims v. Arrow Fin. Servs., LLC, S.Ct. 740, 748 (2012)

 and Osorio v. State Farm Bank, F.S.B., 746 F.3d 1242, 1249 (11th Cir. 2014)


                                                 2
Case 2:19-cv-00238-JES-UAM Document 1 Filed 04/15/19 Page 3 of 13 PageID 3




         8.      The alleged violations described herein occurred in Charlotte County,

 Florida. Accordingly, venue is appropriate with this Court under 28 U.S.C. §1391(b)(2),

 as it is the judicial district in which a substantial part of the events or omissions giving

 rise to this action occurred.

                                 FACTUAL ALLEGATIONS

         9.      Plaintiff is a natural person, and citizen of the State of Florida, residing in

 the city of Port Charlotte, Charlotte County.

         10.     Plaintiff is a “consumer” as defined in Florida Statute 559.55(8) and 15

 U.S.C. § 1692(a)(3).

         11.     Plaintiff is an “alleged debtor.”

         12.     Plaintiff is the “called party.” See Breslow v. Wells Fargo Bank, N.A., 755

 F. 3d 1265 (11th Cir. 2014) and Osorio v. State Farm Bank, F.S.B., 746 F. 3d 1242 (11th

 Cir. 2014).

         13.     Defendant is a corporation with its principal place of business located at

 135 Interstate Boulevard, Suite #6, Greenville, South Carolina 29616 and which conducts

 business in the State of Florida through its registered agent, NRAI Service, Inc. located at

 1200 South Pine Island Road, Plantation, Florida 33324.

         14.     Defendant is a “debt collector” as defined by Florida Statute § 559.55(7)

 and 15 U.S.C. § 1692(a)(6).

         15.     The debt that is the subject matter of this complaint is a “consumer debt”

 as defined by Florida Statute §559.55(6) and U.S.C. § 1692(a)(5).




                                                 3
Case 2:19-cv-00238-JES-UAM Document 1 Filed 04/15/19 Page 4 of 13 PageID 4




        16.     Defendant called Plaintiff on Plaintiff’s cellular telephone approximately

 one hundred (100) times in an attempt to collect a debt.

        17.     Defendant attempted to collect an alleged debt from the Plaintiff by this

 campaign of telephone calls.

        18.     Defendant intentionally harassed and abused Plaintiff on numerous

 occasions by calling several times during one day, and on back to back days, with such

 frequency as can reasonably be expected to harass.

        19.     Some or all of the calls the Defendant made to Plaintiff’s cellular

 telephone number were made using an “automatic telephone dialing system” which has

 the capacity to store or produce telephone numbers to be called, using a random or

 sequential number generator (including but not limited to a predictive dialer) or an

 artificial or prerecorded voice; and to dial such numbers as specified by 47 U.S.C §

 227(a)(1) (hereinafter “autodialer calls”). Plaintiff will testify that he knew it was an

 autodialer because of the vast number of calls he received and because he heard a pause

 when he answered his phone before a voice came on the line and he received prerecorded

 messages from Defendant.

        20.     Plaintiff believes the calls were made using equipment which has the

 capacity to store numbers to be called and to dial such numbers automatically.

        21.     Plaintiff is the subscriber, regular user and carrier of the cellular telephone

 number (941) ***-0113, and was the called party and recipient of Defendant’s calls.




                                               4
Case 2:19-cv-00238-JES-UAM Document 1 Filed 04/15/19 Page 5 of 13 PageID 5




         22.    Defendant placed an exorbitant number of automated calls to Plaintiff’s

 cellular telephone (941) ***-0113 in an attempt to reach an individual known only as

 “Negate Guishion” (sounds like).

         23.    Plaintiff does not currently know, nor has ever known, an individual by

 the name of “Negate Guishon” and has made this known to Defendant during numerous

 telephone calls.

         24.    Plaintiff does not currently have any account or business dealings with

 Defendant.

         25.    Defendant, at no point in time, had Plaintiff’s consent to call him on his

 aforementioned cellular telephone number.

         26.    Upon receipt of the calls from Defendant, Plaintiff’s caller ID identified

 the calls were being initiated from, but not limited to, the following telephone number:

 (786) 796-2677.

         27.    On several occasions over the last four (4) years, Plaintiff instructed

 Defendant’s agent(s) to stop calling his cellular telephone, and he is not the person

 Defendant is looking for.

         28.    On or about September 2018, Plaintiff communicated with Defendant

 from his aforementioned cellular telephone number that he was not the person Defendant

 was looking for and instructed Defendant’s agent to cease calling him.

         29.    Despite clearly and unequivocally instructing Defendant to cease calling

 Plaintiff on his cellular telephone, Defendant continues to place automated calls to

 Plaintiff.



                                             5
Case 2:19-cv-00238-JES-UAM Document 1 Filed 04/15/19 Page 6 of 13 PageID 6




         30.     Each subsequent call Defendant made to Plaintiff’s aforementioned

 cellular telephone number was done so without the “express consent” of Plaintiff.

         31.     Each subsequent call Defendant made to Plaintiff’s aforementioned

 cellular telephone number was knowing and willful.

         32.     In or about October 2018, Plaintiff again answered a call from the

 Defendant and spoke to an agent/representative of Defendant. Plaintiff explained to

 Defendant’s agent/representative that the automated calls to his cellular telephone were

 harassing, that he was not the person Defendant was looking for, and again demanded

 that all calls to his cellular telephone cease.

         33.     In or about November 2018, Plaintiff again answered a call from the

 Defendant and spoke to an agent/representative of Defendant. Plaintiff explained to

 Defendant’s agent/representative that the automated calls to his cellular telephone were

 harassing, that he was not the person Defendant was looking for, and again demanded

 that all calls to his cellular telephone cease.

         34.     In or about January 2019, Plaintiff again answered a call from the

 Defendant and spoke to an agent/representative of Defendant. Plaintiff explained to

 Defendant’s agent/representative that the automated calls to his cellular telephone were

 harassing, that he was not the person Defendant was looking for, and again demanded

 that all calls to his cellular telephone cease.

         35.     In or about March 2019, Plaintiff again answered a call from the

 Defendant and spoke to an agent/representative of Defendant. Plaintiff explained to

 Defendant’s agent/representative that the automated calls to his cellular telephone were



                                                   6
Case 2:19-cv-00238-JES-UAM Document 1 Filed 04/15/19 Page 7 of 13 PageID 7




 harassing, that he was not the person Defendant was looking for, and again demanded

 that all calls to his cellular telephone cease.

         36.     Plaintiff’s numerous conversations with Defendant’s agent/representative

 wherein he demanded a cessation of calls were in vain as Defendant continues to

 bombard him with an automated call unabated.

         37.     Defendant intentionally harassed and abused Plaintiff on numerous

 occasions by calling several times during one day, and on back to back days, with such

 frequency as can reasonably be expected to harass.

         38.     Defendant has a corporate policy to use an automatic telephone dialing

 system or a pre-recorded or artificial voice to individuals just as it did to the Plaintiff’s

 cellular telephone in this case.

         39.     Defendant has a corporate policy to use an automatic telephone dialing

 system or a pre-recorded or artificial voice, just as it did to the Plaintiff’s cellular

 telephone in this case, with no way for the consumer, or Defendant, to remove the

 number.

         40.     Defendant’s corporate policy is structured as to continue to call

 individuals like the Plaintiff, despite these individuals explaining to Defendant they wish

 for the calls to stop.

         41.     Defendant has numerous other federal lawsuits pending against them

 alleging similar violations as stated in this Complaint.




                                                   7
Case 2:19-cv-00238-JES-UAM Document 1 Filed 04/15/19 Page 8 of 13 PageID 8




         42.      Defendant has numerous complaints against them across the country

 asserting that their automatic telephone dialing system continues to call despite being

 requested to stop.

         43.      Defendant has had numerous complaints from consumers against them

 across the country asking to not be called, however the Defendant continues to call the

 consumers.

         44.      Defendant’s corporate policy provided no means for the Plaintiff to have

 his number removed from the call list.

         45.      Defendant has a corporate policy to harass and abuse individuals despite

 actual knowledge that the called parties do not wish to be called.

         46.      None of Defendant’s telephone calls placed to Plaintiff were for

 “emergency purposes” as specified in 47 U.S.C. §227(b)(1)(A).

         47.      Defendant willfully and/or knowingly violated the TCPA with respect to

 the Plaintiff.

         48.      From each and every call placed without express consent by Defendant to

 Plaintiff’s cell phone, Plaintiff suffered the injury of invasion of privacy and the intrusion

 upon his right of seclusion.

         49.      From each and every call without express consent placed by Defendant to

 Plaintiff’s cell phone, Plaintiff suffered the injury of the occupation of his cellular

 telephone line and cellular phone by unwelcome calls, making the phone unavailable for

 legitimate callers or outgoing calls while the phone was ringing from Defendant’s call.




                                               8
Case 2:19-cv-00238-JES-UAM Document 1 Filed 04/15/19 Page 9 of 13 PageID 9




        50.     From each and every call placed without express consent by Defendant to

 Plaintiff’s cell phone, Plaintiff suffered the injury of unnecessary expenditure of her time.

 For calls he answered, the time he spent on the call was unnecessary as he had repeatedly

 asked for the calls to stop. Even for unanswered calls, Plaintiff had to waste time to

 unlock the phone and deal with missed call notifications and call logs that reflected the

 unwanted calls. This also impaired the usefulness of these features of Plaintiff’s cellular

 phone, which are designed to inform the user of important missed communications.

        51.     Each and every call placed without express consent by Defendant to

 Plaintiff’s cell phone was an injury in the form of a nuisance and annoyance to Plaintiff.

 For calls that were answered, Plaintiff had to go to the unnecessary trouble of answering

 them. Even for unanswered calls, Plaintiff had to waste time to unlock the phone and deal

 with missed call notifications and call logs that reflected the unwanted calls. This also

 impaired the usefulness of these features of Plaintiff’s cellular phone, which are designed

 to inform the user of important missed communications.

        52.     Each and every call placed without express consent by Defendant to

 Plaintiff’s cell phone resulted in the injury of unnecessary expenditure of Plaintiff’s cell

 phone’s battery power.

        53.     Each and every call placed without express consent by Defendant to

 Plaintiff’s cell phone where a voice message was left which occupied space in Plaintiff’s

 phone or network.




                                              9
Case 2:19-cv-00238-JES-UAM Document 1 Filed 04/15/19 Page 10 of 13 PageID 10




           54.     Each and every call placed without express consent by Defendant to

   Plaintiff’s cell phone resulted in the injury of a trespass to Plaintiff’s chattel, namely his

   cellular phone and his cellular phone services.

           55.     As a result of the calls described above, Plaintiff suffered an invasion of

   privacy. Plaintiff was also affect in a personal and individualized way by stress, anxiety,

   nervousness, embarrassment, distress and aggravation.

                                            COUNT I
                                     (Violation of the TCPA)

           56.     Plaintiff fully incorporates and realleges paragraphs 1 through 55 as if

   fully set forth herein.

           57.     Defendant willfully violated the TCPA with respect to the Plaintiff,

   especially for each of the auto-dialer calls made to Plaintiff’s cellular telephone after

   Plaintiff notified Defendant that he was not the person Defendant was looking for and

   that he wished for the calls to stop.

           58.     Defendant repeatedly placed non-emergency telephone calls to Plaintiff’s

   cellular telephone using an automatic telephone dialing system or prerecorded or artificial

   voice without Plaintiff’s prior express consent in violation of federal law, including 47

   U.S.C § 227(b)(1)(A)(iii).

           WHEREFORE, Plaintiff respectfully demands a trial by jury on all issues so

   triable and judgment against Defendant for statutory damages, punitive damages, actual

   damages, treble damages, enjoinder from further violations of these parts and any other

   such relief the court may deem just and proper.




                                                10
Case 2:19-cv-00238-JES-UAM Document 1 Filed 04/15/19 Page 11 of 13 PageID 11




                                           COUNT II
                                   (Violation of the FCCPA)

           59.     Plaintiff fully incorporates and realleges paragraphs 1 through 55 as if

   fully set forth herein.

           60.     At all times relevant to this action Defendant is subject to and must abide

   by the laws of the State of Florida, including Florida Statute § 559.72.

           61.     Defendant has violated Florida Statute §559.72(7) by willfully

   communicating with the debtor or any member of her or his family with such frequency

   as can reasonably be expected to harass the debtor or her or his family.

           62.     Defendant has violated Florida Statute §559.72(7) by willfully engaging in

   other conduct which can reasonably be expected to abuse or harass the debtor or any

   member of her or his family.

           63.     Defendant has violated Florida Statute §559.72(9) by attempting to

   enforce a debt when such person knows that the debt is not legitimate or assert the

   existence of some other legal right when such person knows the right does not exist.

           64.     Defendant’s actions have directly and proximately resulted in Plaintiff’s

   prior and continuous sustaining of damages as described by Florida Statute §559.77.

           WHEREFORE, Plaintiff respectfully demands a trial by jury on all issues so

   triable and judgment against Defendant for statutory damages, punitive damages, actual

   damages, costs, interest, attorney fees, enjoinder from further violations of these parts and

   any other such relief the court may deem just and proper.




                                                11
Case 2:19-cv-00238-JES-UAM Document 1 Filed 04/15/19 Page 12 of 13 PageID 12




                                          COUNT III
                                   (Violation of the FDCPA)

           65.     Plaintiff fully incorporates and realleges paragraphs 1 through 55 as if

   fully set forth herein.

           66.     At all times relevant to this action Defendant is subject to and must abide

   by 15 U.S.C. § 1692 et seq.

           67.     Defendant has violated 15 U.S.C. § 1692(d) by willfully engaging in

   conduct the natural consequence of which is to harass, oppress, or abuse any person in

   connection with the collection of a debt.

           68.     Defendant has violated 15 U.S.C. § 1692(d)(5) by causing a telephone to

   ring or engaging any person in telephone conversation repeatedly or continuously with

   intent to annoy, abuse, or harass any person at the called number.

           69.     Defendant has violated 15 U.S.C. § 1692(f) by using unfair and

   unconscionable means to collect or attempt to collect any debt.

           WHEREFORE, Plaintiff respectfully demands a trial by jury on all issues so

   triable and judgment against Defendant for statutory damages, punitive damages, actual

   damages, costs, interest, attorney fees, enjoinder from further violations of these parts and

   any other such relief the court may deem just and proper.

                                                 Respectfully submitted,

                                                 /s/ John C. Distasio, Esquire
                                                 JOHN C. DISTASIO, ESQUIRE
                                                 Florida Bar No.: 096328
                                                 MORGAN & MORGAN, TAMPA, P.A.
                                                 One Tampa City Center
                                                 201 N. Franklin Street, Suite 700
                                                 Tampa, FL 33602


                                                12
Case 2:19-cv-00238-JES-UAM Document 1 Filed 04/15/19 Page 13 of 13 PageID 13




                                      Telephone: (813) 223-5505
                                      Facsimile: (813) 223-5402
                                      JDistasio@ForThePeople.com
                                      LCrouch@ForThePeople.com
                                      JSherwood@ ForThePeople.com
                                      Attorney for Plaintiff




                                     13
